 

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF PUERTO RICO

UNITED STATES OF AMERICA,
Plaintiff,
CRIMINAL NOS. 18-577-2 (GAG)

LAL f * 19-075-20 (GAG)

LUIS A. BETANCOURT-PANTOJAS,
a/k/a “Nazi,” “Nassi,”

 

 

Defendant.
PLEA AND FORFEITURE AGREEMENT
(Pursuant to Fed. R. Crim. P. 11(c)(1)(B))
TO THE HONORABLE COURT:

_ COMES NOW, the United States of America, by and through its attorneys for the District
of Puerto Rico: W. Stephen Muldrow, United States Attorney; Alberto Lépez-Rocafort, Assistant
United States Attorney and Chief of the Gang Section; and Vanessa E. Bonhomme, Assistant
United States Attorney; along with defendant’s counsel Antonio L. Bisbal-Bultron, Esq.; and
defendant Luis A. Betancourt-Pantojas, pursuant to Federal Rule of Criminal Procedure
11(c)(1)(B), state to this Honorable Court that they have reached a Plea and Forfeiture Agreement,
the terms and conditions of which are as follows:

1. COUNT TO WHICH DEFENDANT PLEADS GUILTY

CRIMINAL CASE NO. 18-577-02 (GAG):
Defendant agrees to plead guilty to Count Three of the Indictment.

Count Three charges Defendant with a violation of Title 18, United States Code, Section
924(c)(1)(A) — Possession of Firearms in Furtherance of a Drug Trafficking Crime.

On or about August 22, 2018, in the District of Puerto Rico and within the jurisdiction of

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this Court, [2] LUIS A. BETANCOURT-PANTOJAS, and his codefendants did knowingly
possess firearms, as that term is defined in Title 18, United States Code, Section 921(a)(3), that is:
(1) a Glock 9mm caliber pistol, Model 34, serial number DPM581US, loaded with 30 rounds of
ammunition; (2) an AR type pistol, of unknown make, without serial number, and loaded with 19
rounds of .223-caliber ammunition; (3) a Kal Tec, AR type pistol, Model PLR-16, serial number
P8A27, black and green in color, and loaded with 47 rounds of .223-caliber ammunition; and (4)
a Glock .40 caliber pistol, Model 22, without a serial number, in furtherance of a drug trafficking
crime for which they may be prosecuted in a Court of the United States, that is, possession with
intent to distribute marihuana in violation of Title 21, United States Code, Sections 841(a)(1). All

in violation of Title 18, United States Code, Section 924(c)(1)(A)(i).

CRIMINAL CASE NO. 19-075-20 (GAG):
Defendant agrees to plead guilty to Count One of the Indictment.

Count One charges Defendant with a violation of Title 21, United States Code, Sections
841(a)(1), (b)(1)(A), 846, and 860 — Conspiracy to Possess with Intent to Distribute Controlled
Substances.

Beginning on a date unknown, but no later than in or about the year 2011, and continuing
up to and until the return of the instant Indictment, in the Municipalities of Humacao and San Juan,
District of Puerto Rico and within the jurisdiction of this Court, [20] LUIS A. BETANCOURT-
PANTOJAS and co-conspirators, did knowingly and intentionally, combine, conspire, and agree
with each other and with diverse other persons known and unknown to the Grand Jury, to commit
an offense against the United States, that is, to knowingly and intentionally possess with intent to
distribute controlled substances, to wit: in excess of two hundred and eighty (280) grams of a
mixture or substance containing a detectable amount of cocaine base (crack), a Schedule II

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Narcotic Drug Controlled Substance; in excess of one (1) kilogram of a mixture or substance
containing a detectable amount of heroin, a Schedule I, Narcotic Drug Controlled Substance; in
excess of five (5) kilograms or more of a mixture or substance containing a detectable amount of
cocaine, a Schedule II, Narcotic Drug Controlled Substance; a mixture or substance containing a
detectable amount of marihuana, a Schedule I, Controlled Substance; a mixture or substance
containing a detectable amount of Oxycodone (commonly known as Percocet), a Schedule II
Controlled Substance; and a mixture or substance containing a detectable amount of Alprazolam
(commonly known as Xanax), a’ Schedule IV Controlled Substance; within one thousand (1,000)
feet of the real property comprising a housing facility owned by a public housing authority, that
is, the Dr. Pedro J. Palou Public Housing Project and the Jardines del Oriente (Los Condos) Public
Housing Project, and-other areas; and within one thousand (1,000) feet of the Rufino Vigo
Elementary School. All in violation of Title 21, United States Code, Sections 841(a)(1),
(b)(1)(A), 846, and 860.

2. MAXIMUM PENALTIES

CRIMINAL CASE NO. 18-577-02 (GAG):
Pursuant to 18 U.S.C. § 924(c)(1)(A)(i), the maximum statutory penalty for the offense

charged in Count Three of the Indictment, a Class A felony under 18 U.S.C. § 3559(a)(1), is a
term of imprisonment of not less than five (5) years and up to life imprisonment; pursuant to 18
U.S.C. § 3571(b)(3), a fine not to exceed $250,000; pursuant to 18 U.S.C. § 3583(b)(2), a:
supervised release term of not more than three (3) years; and pursuant to 18 U.S.C. §
3013(a)(2)(A). Any term of imprisonment will run consecutive to any other term of imprisonment

pursuant to 18 U.S.C. § 924(c)(1)(D)(ii).

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The Penalty for the offense charged in Count One of the Indictment is a term of
imprisonment which shall not be less than ten (10) years and up to two (2) terms of life, a fine not
to exceed twenty million dollars ($20,000,000) and a term of supervised release of not less than
ten (10) years in addition to any term of incarceration, pursuant to 21 U.S.C. §§ 841(b)(1)(A), 846,
and 860.

However, for purposes of this plea agreement, the defendant is being held responsible for
the possession of at least 100 grams but less than 200 grams of cocaine. Therefore, if the Court
accepts this stipulation, the defendant faces a minimum term of imprisonment of one (1) year up
to a maximum term of imprisonment of forty (40) years, a fine not to exceed two million dollars.
($2,000,000), and a term of supervised release of not less than six (6) years in addition to any term.
of incarceration, pursuant to 21 U.S.C. §§ 841(b)(1)(C), 846, and 860.

3. SENTENCING GUIDELINES APPLICABILITY

Defendant understands that the sentence will be left entirely to the sound discretion of the
Court in accordance with 18 U.S.C. §§ 3551-86, and the United States Sentencing Guidelines
(hereinafter “Guidelines”), which have been rendered advisory by the United States Supreme
Court decision in United States v. Booker, 543 U.S. 220 (2005). Further, Defendant acknowledges
that under the Sentencing Reform Act of 1984, Congress abolished parole and that the imposition
of his sentence may not be suspended.

4, SPECIAL MONETARY ASSESSMENT
Defendant agrees to pay a special monetary assessment of one hundred dollars ($100)

United States currency, per count of conviction, to be deposited in the Crime Victim Fund,

pursuant to 18 U.S.C. § 3013(a)(2)(A).

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5, FINES AND RESTITUTION
Defendant is aware that the Court may, pursuant to U.S.S.G. § 5E1.2, order him to paya

fine sufficient to reimburse the government for the costs of any imprisonment, probation, or
supervised release ordered. The Court may also impose restitution.

6. RULE 11(c)(1)(8) WARNINGS

Defendant is aware that his sentence is within the sound iseretion of the sentenging judge
and of the advisory nature of the Guidelines, including the Guidelines Policy Statements,
Application, and Background Notes. Further, Defendant understands and acknowledges that the
Court is not a party to this Plea and Forfeiture Agreement. As such, this Plea and Forfeiture
Agreement, including the sentencing calculations and recommendations contained herein do not
bind this Court. Defendant specifically scknowledged that the Court has jurisdiction and authority
to impose any sentence within the statutory maximum set for the offense to which Defendant is
pleading guilty. Defendant is aware that the Court may accept or reject the Plea and Forfeiture
Agreement, or may defer its decision whether to accept or reject the Plea and Forfeiture Agreement
until it has considered the pre-sentence investigation report. See Fed. R. Crim. P. 11(c)(3)(A).
Should the Court impose a sentence up to the maximum established by statute, Defendant cannot
withdraw his guilty plea for that reason alone and will remain bound to fulfill all the obligations
under this Plea and Forfeiture Agreement. See Fed. R. Crim. P. 1 1(c)(3)(B).
ae APPLICABILITY OF UNITED STATES SENTENCING GUIDELINES

Defendant is aware that pursuant to the decision issued by the Supreme Court of the United
States in the case of United States y. Booker, 543 U.S. 220 (2005), the Guidelines are no longer

mandatory and must be considered effectively advisory. Therefore, after due consideration of the

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relevant factors enumerated in 18 U.S.C. § 3553(a), the United States and Defendant submit the

following advisory Guideline calculations:
CRIMINAL CASE NO. 18-577-02 (GAG):

‘SENTENCING GUIDELINES CALCULATIONS TABLE
Count Three — 18 U.S.C. § 924(c)(1)(A)

STATUTORY MANDATE 5 years to
[U.S.S.G. § 2K2.4(b)] imprisonment
Possession of a Firearm in Furtherance of a Drug Trafficking Crime for life

 

 

CRIMINAL CASE NO. 16-591-59 (GAG):
‘ wt " SENTENCING G GUIDELINES CALCULATION TABLE (COUNT ONE) -
Title 21, United States Code, §§ 841(a)(1), $46, and 860.

BASE OFFENSE LEVEL [U.S.S.G. §2D1.1(c)(12)]
(Possession of at least 100 grams but less than 200 grams of cocaine)

 

 

PROTECTED LOCATION [U.S.S.G. §2D1.2(a)(1)]
(Distribution within 1,000 of PHP/School Zone)

Acceptance of Responsibility [§ 3E1.1] 3

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TOTAL OFFENSE LEVEL 15

 

IMPRISONMENT RANGE IF CRIMINAL HISTORY CATEGORY I 18-24
' YF CRIMINAL HISTORY CATEGORY II 21-27

IF CRIMINAL HISTORY CATEGORY IIL 24-30

IF CRIMINAL HISTORY CATEGORY IV 30-37

IF CRIMINAL HISTORY CATEGORY V 37-46

JF CRIMINAL HISTORY CATEGORY VI 41-51
months

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8. NO STIPULATION AS TO CRIMINAL HISTORY CATEGORY
The parties do not stipulate as to any Criminal History Category for Defendant.

9. SENTENCE RECOMMENDATION

CRIMINAL CASE NO. 18-577-02 (GAG):

As to Count Three of the Indictment, the parties jointly agree ond recommend that the
defendant be sentenced to a term of sixty (60) months imprisonment, which is the statutory
minimum sentence, regardless of criminal history category. The defendant agrees that this sentence
recommendation is reasonable pursuant to 18 U.S.C. § 3553(a). The sentence imposed for this

count of conviction must be served consecutive to any other sentence.

CRIMINAL CaSE No. 19-075-20 (GAG):

The parties agree that as to Count One of the Indictment, the defendant may request a term
of incarceration not less than twelve (12) months imprisonment, regardless of criminal history
category. The parties agree that this recommendation may constitute a variant sentence. The United
States may request a sentence of up to twenty-four (24) months imprisonment, regardless of
criminal history category. The sentence imposed in criminal case number 19-075-20 (GAG) must
he served consecutively to the sentence imposed in 18-577-02 (GAG). The defendant agrees that
this sentence recommendation is reasonable pursuant to 18 U.S.C. § 3553(a).

10. WAIVER OF APPEAL

CRIMINAL CASE No. 18-577-02 (GAG):

Defendant knowingly and voluntarily agrees that, if the imprisonment sentence imposed
by the Court is sixty (60) months to be served consecutive to any other sentence, the defendant
waives the right to appeal any aspect of this case’s judgment and sentence, including but not

limited to the term of imprisonment or probation, restitution, fines, forfeiture, and the term and

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conditions of supervised release.

MINAL CAS -075- :
Defendant knowingly and voluntarily agrees that, if the imprisonment sentence imposed

by the Court on this case is twenty-four (24) months or less, the defendant waives the right to
appeal any aspect of this case’s judgment and sentence, including but not limited to the term of
imprisonment or probation, restitution, fines, forfeiture, and the term and conditions of supervised
release.
11. NOFURTHER ADJUSTMENTS OR DEPARTURES

The United States and Defendant agree that no further adjustments or departures to
Defendant's total adjusted base offense level and no variance sentence under 18 U.S.C. § 3553
Shall be sought by Defendant. The parties agree that any request by Defendant for an adjustment
or departure will be considered a material breach of this Plea and Forfeiture Agreement, and the
United States will be free to ask for any sentence, either guideline or statutory.
12. SATISFACTION WITH COUNSEL

Defendant represents to the Court that he is satisfied with counsel, Antonio L. Bisbal-
Bultron, Esq., and asserts that counsel has rendered effective legal assistance.
13. RIGHTS SURRENDERED BY DEFENDANT THROUGH GUILTY PLEA /

Defendant understands that by entering into this Plea and Forfeiture Agreement he
Surrenders certain rights as provided in this agreement, Defendant understands that the rights of
criminal Defendants include the following:

a. If Defendant had persisted in a plea of not guilty to the charges, Defendant would
have had the right toa speedy jury trial with the assistance of counsel. The trial may
be conducted by a Judge sitting without a jury if Defendant, the United States and
the judge agree. ‘

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‘b. If a jury trial is conducted, the jury would be composed of twelve lay persons
selected at random. Defendant and Defendant's attorney would assist in selecting
the jurors by removing prospective jurors for cause where actual bias or other
disqualification is shown, or by removing prospective jurors without cause by
exercising peremptory challenges. The jury would have to agree, unanimously,
before it could return a verdict of either guilty or not guilty. The jury would be
instructed that Defendant is presumed innocent, that it could not convict Defendant
unless, after hearing all the evidence, it was persuaded of Defendant’s guilt beyond
a reasonable doubt, and that it was to consider each charge separately.

c. Ifa trial is held by the judge without a jury, the judge would find the facts and, after
hearing all the evidence and considering each count separately, determine whether
or not the evidence established Defendant’s guilt beyond a reasonable doubt.

 

d. At a trial, the United States would be required to present its witnesses and other
evidence against Defendant. Defendant would be able to confront those witnesses
and Defendant’s attorney would be able to cross-examine them. In turn, Defendant
could present witnesses and other evidence on Defendant’s own behalf. If the
witnesses for Defendant would not appear voluntarily, Defendant could require
their attendance through the subpoena power of the Court.

e. Atatrial, Defendant could rely on the privilege against self-incrimination to decline
to testify, and the jury could draw no inference of guilt from Defendant’s refusal to
testify. If Defendant desired to do so, Defendant could testify on Defendant’s own
behalf.

14. STIPULATION OF FACTS ©
This Plea and Forfeiture Agreement hereby incorporates the accompanying Stipulation of
Facts signed by Defendant. Defendant adopts the Stipulation of Facts and agrees that the facts

; therein are accurate in every respect, and, had the matter proceeded to trial, that the United States

would have proven those facts beyond a reasonable doubt.

| 15. FIREARM AND AMMUNITION FORFEITURE
CRIMINAL CASE No. 18-577-02 (GAG):

 

Pursuant to 18 U.S.C. § 924(d) and 28 U.S.C. § 2461(c), Defendant agrees to forfeit all of

his right, title, and interest in the following property (hereafter, collectively, the “Property”): any

firearms and ammunition involved in the commission of the offense, including, but not limited to:

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(1) a Glock 9mm caliber pistol, Model 34, serial number DPM581US, loaded with 30 rounds of
ammunition; (2) an AR type pistol, of unknown make, without serial number, and loaded with 19
rounds of .223-caliber ammunition; (3) a Kal Tec, AR type pistol, Model PLR-16, serial number
P8A27, black and green in color, and loaded with 47 rounds of .223-caliber ammunition; and (4)
a Glock .40 caliber pistol, Model 22, without a serial number.

Defendant acknowledges that he possessed the aforementioned items in violation of 18
U.S.C. § 924(c)(1)(A), as set forth in Count Three of the Indictment, and that the Property is
therefore subject to forfeiture to the United States pursuant to 18 U.S.C. § 924(d) and 28 U.S.C. §
2461(c). .

16. NARCOTICS FORFEITURE
CRIMINAL CASE NO. 19-075-20 (GAG):

Pursuant to 21 U.S.C. § 853, Defendant agrees to forfeit all of his right, title, and interest
in the following property (hereafter, collectively, the “Property”): any property constituting, or
derived from, proceeds obtained, directly or indirectly, as a result of the said violations and any
property used, or intended to be used, in any manner or part, to commit, or to facilitate the
commission of the said violation[s], including but not limited to the following: Approximately
twenty-one thousand, two hundred and thirty-four dollars and eighty-six cents ($21,234.86) United
States currency.

Defendant acknowledges that he possessed controlled substances with intent to distribute

_ them in violation of 21 U.S.C. § 841(a)(1), as set forth in Count One of the Indictment, and that

the Property is therefore subject to forfeiture to the United States pursuant to 21 U.S.C. § 853.

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17. LIMITATIONS OF PLEA AND FORFEITURE AGREEMENT
This Plea and Forfeiture Agreement binds only the United States Attorney’s Office for the

District of Puerto Rico and Defendant. It does not bind any other federal district, state, or local

authorities.

18. ENTIRETY OF PLEA AND FORFEITURE AGREEMENT

This written agreement constitutes the complete Plea and Forfeiture Agreement between
the United States, Defendant, and Defendant’s counsel. The United States has made no promises
or representations except as set forth in writing in this Plea and Forfeiture Agreement and denies
the existence of any other term and conditions not stated herein.

19. AMENDMENTS TO PLEA AND FORFEITURE AGREEMENT

_No other promises, terms or conditions will be entered unless in writing and signed by all
parties. | .

20. DISMISSAL OF REMAINING COUNTS

At sentencing, should the Defendant comply with the terms of this Plea and Forfeiture
Agreement, the Government will move to dismiss the remaining Counts charged in both Criminal

Case No. 18-577-02 (GAG) and Criminal Case No. 19-075-20 (GAG).

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21. | VOLUNTARINESS OF GUILTY PLEA

Defendant acknowledges that no threats have been made against him and that he is pleading

guilty freely and voluntarily because he is guilty.

W. STEPHEN MULDROW
United States Attorney

a ae
Alberto Lopez-Rocafort
Assistant United States Attorney
Chief, Gang Section
Date: é

Vanessa E. Bonhomme

Assistant United States Attorney
Date: S\ it \ qwiye

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Luis A. Betancourt-Pantojas

Defendayt
- Date:

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UNDERSTANDING OF RIGHTS
I have consulted with my counsel and fully understand all of my rights with respect to the
Indictment pending against me. Further, I have consulted with my attorney and fully understand
my rights with respect to the provisions of the Sentencing Guidelines, Policy Statements,
pplication, and Background Notes which may apply in my case. I have read this Plea and
Forfeiture Agreement and carefully reviewed every part of it with my attorney. My counsel has

translated the plea agreement it to me in the Spanish language and J have no doubts as to the

contents of the agreement. I fully understand this agreement and voluntarily agree to it

, 2
Date:

Luis A. Betancourt-Pantojas
Defendant

I am the attorney for Defendant. I have fully explained Defendant’s rights to Defendant
with respect to the pending Indictment. Further, I have reviewed the provisions of the Sen g

Guidelines, Policy Statements, Application, and Background Notes, and I have fully explained to

 

Defendant the provisions of those pulidelines which may anpty in this cas I have carefully
reviewed every part of this Plea and Porfeiture Agreement with Defendant, I have translated the
plea agreement and explained it in the Spanish language to the defendant who has expressed having
no doubts as to the contents of the agreement. To my knowledge, Defendant is entering into this

Plea and Forfeiture Agreement voluntarily, intelligently, and with full knowledge of all
consequences of Defendant’s plea of guilty.

Date: 0,

   

Counsel for Defender

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STIPULATION OF FACTS
8- ‘
; In conjunction with the submission of the accompanying plea agreement in this case, The
United States submits the following statement setting forth the United States version of the facts
leading to the defendant’s acceptance of criminal responsibility for defendant’s violations of 18
USS.C. § 924(c)(1)(A)(i). The following is a summary of the facts the United States would have
proven beyond reasonable doubt if this matter would have gone to trial:

On or about August 22, 2018, in the District of Puerto Rico and within the jurisdiction of
this Court, [2] LUIS A. BETANCOURT-PANTOJAS, and his codefendants did knowingly
possess firearms, as that term is defined in Title 18, United States Code, Section 921(a)(3), that is:
(1) a Glock 9mm caliber pistol, Model 34, serial fidmiber DPMS81US, loaded with 30 rounds of
ammunition; (2) an AR type pistol, of unknown make, without serial number, and loaded with 19
rounds of .223-caliber ammunition; (3) a Kal Tec, AR type pistol, Model PLR-16, serial number
P8A27, black and green in color, and loaded with 47 rounds of .223-caliber ammunition; and (4)
a Glock .40 caliber pistol, Model 22, without a serial number, in furtherance of a drug trafficking
crime for which they may be prosecuted in a Court of the United States, that is, possession with
intent to distribute marihuana in violation of Title 21, United States Code, Sections 841(a)(1). All
in violation of Title 18, United States Code, Section 924(c)(1)(A)(i).

Specifically, on August 22, 2018, while law enforcement agents were executing a federal
arrest warrant, agents entered Building 6, Apartment 182 in Los Manatiales Public Housing Project
in San Juan, Puerto Rico. Apartment 182 was a one-bedroom unit with one small kitchen, one
closet in the hallway, and one bathroom. After knocking and announcing their presence, law

enforcement officers entered the apartment. [2] LUIS A. BETANCOURT-PANTOJAS was

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observed exiting the bedroom with a co-defendant. Law enforcement officers detained all
individuals in the apartment and conducted a protective sweep.

On top of a table in the living room agents observed drug paraphernalia. Additionally,
agents observed a rifle type magazine protruding from a backpack located on the sofa in the living
room. Inside the backpack agents seized, one (1) .40 caliber drum magazine with the capacity to
hold fifty (50) rounds of ammunition; one (1) 9mm caliber double drum magazine with the

- capacity to hold one hundred (100) rounds of ammunition; and four (4) AR type rifle magazines,
each with the capacity to hold thirty (30) rounds of ammunition.

The agents also observed a black satchel which contained: a cardboard box containing
thirty-three (33) rounds of 9mm ammunition; a .40 caliber extended Glock magazine with the
capacity to hold twenty-two (22) rounds of ammunition and actually loaded with eighteen (18)
rounds of ammunition; a .40 caliber extended Glock magazine with the capacity to hold twenty-
two (22) rounds of ammunition and actually loaded with nineteen (19) rounds of ammunition; a
40 caliber extended Glock magazine with the capacity to hold twenty-two (22) rounds of
ammunition and actually loaded with three (3) rounds of ammunition; a .40 caliber Glock
magazine with the capacity to hold fifteen (15) rounds of ammunition and actually loaded with
twelve (12) rounds of ammunition; two (2) rounds of .40 caliber ammunition; one (1) round of
223 caliber ammunition; and one small clear plastic baggie containing marihuana.

In the bedroom, agents also seized several items that include, but are not limited to:

e A 9mm caliber Glock pistol, Model 34, bearing serial number DPM581US, loaded with
thirty (30) rounds of 9mm caliber ammunition, modified to fire more than one round by

the single pull of the trigger (machinegun). This firearm was confirmed to be a

machinegun.

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© AnAR type pistol of unknown make, loaded with nineteen (19) rounds of .223 caliber
ammunition.

© A black and green AR type pistol, Kal Tec, model PLR-16, bearing serial number P8A27
loaded with forty-seven (47) rounds of 223 caliber ammunition.

® A 40 caliber Glock pistol, Model 22, unloaded with a machinegun kit.

e Two (2) clear plastic bags containing marihuana.

e Sixty-four (64) small and medium clear plastic baggies containing marihuana.

The defendant admits that the amount of marihuana seized from the apartment was
consistent with possession with intent to distribute. The defendant also admits that the possession
of the firearms was in furtherance of drug trafficking activity, that is the possession with intent to
distribute marihuana.

Criminau Case No. 19-075-20 (GAG):

, Beginning on a date unknown, but no later than in or about the year 2011, and continuing
up to and until the return of the instant Indictment, in the Municipalities of Humacao and San Juan,
District of Puerto Rico and within the jurisdiction of this Court, [20] LUIS A. BETANCOURT-
PANTOJAS and co-conspirators, did knowingly and intentionally, combine, conspire, and agree
with each other and with diverse other persons known and unknown to the Grand Jury, to commit
an offense against the United States, that is, to knowingly and intentionally possess with intent to
distribute controlled substances, to wit: in excess of two hundred and eighty (280) grams of a
mixture or substance containing a detectable amount of cocaine base (crack), a Schedule I
Narcotic Drug Controlled Substance; in excess of one (1) kilogram of a mixture or substance

containing a detectable amount of heroin, a Schedule I, Narcotic Drug Controlled Substance; in

excess of five (5) kilograms or more of a mixture or substance containing a detectable amount of

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cocaine, a Schedule II, Narcotic Drug Controlled Substance; a mixture or substance containing a
detectable amount of marihuana, a Schedule I, Controlled Substance; a mixture or substance
containing a detectable amount of Oxycodone (commonly known as Percocet), a Schedule II
Controlled Substance; and a mixture or substance containing a detectable amount of Alprazolam
(commonly known as Xanax), a Schedule IV Controlled Substance; within one thousand (1,000)
feet of the real property comprising a housing facility owned by a public housing authority, that
is, the Dr. Pedro J. Palou Public Housing Project and the Jardines del Oriente (Los Condos) Public
Housing Project, and other areas; and within one thousand (1,000) feet of the Rufino Vigo
Elementary School. All in violation of Title 21, United States Code, Sections 841(a)(1),
(b)(1)(A), 846, and 860. |

Specifically, [20] LUIS A. BETANCOURT-PANTOJAS acted as an enforcer for this
drug trafficking organization. In this conspiracy, enforcers possessed, carried, brandished, used,
and discharged firearms to protect the leaders and members of the drug trafficking organization,
the controlled substances, the proceeds derived from their sales, and to further accomplish the
goals of the conspiracy. Enforcers provided protection to the public housing projects and the drug
distribution points by keeping watch (looking out) for enemies while they possessed, carried,
brandished, used, and discharged firearms. During the course of the conspiracy, several kilograms
of cocaine, cocaine base (crack), heroin, a detectable amount of marijuana, and Oxycodone and
Alprazolam were sold. However, for purposes of his plea agreement, the defendant is admitting to
possession of at least 100 grams but less than 200 grams of cocaine with intent to distribute and
the distribution. All this occurred within 1,000 feet of a real property comprising a housing facility
owned by a public housing authority and within 1,000 feet of a property comprising a public ot

private elementary, vocational, or secondary school.

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The United States would have proven these facts beyond a reasonable doubt through
physical, testimonial, and documentary evidence such as, but not limited to, video recordings,
photographs, seized controlled substances, seized firearms, and seized drug ledgers, and the
testimony of agents fiom the Puerto Rico Police Department, FBI, and cooperating witnesses, in
addition to experts from the DEA Laboratory and FBI Laboratory, among others.

The Government timely made discovery available to Defendant through his attorney for

his review.

Vanessa E. Bonhomme

 

 

Assistant United States Attorney Counsel for De 2
Dated: Sit | 2520 Dated: 2
Luis A. Betancourt-Pantojas

Defendant
Dated:

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